Case 1:20-cv-02578-BMC Document 86 Filed 03/31/23 Page 1 of 2 PageID #: 2063

                                                                DLA Piper LLP (US)
                                                                1251 Avenue of the Americas
                                                                27th Floor
                                                                New York, New York 10020-1104
                                                                www.dlapiper.com

                                                                John M. Hillebrecht
                                                                John.Hillebrecht@us.dlapiper.com
                                                                T 212.335.4590
                                                                F 917.778.8590

                                                            March 31, 2023
VIA ECF
The Honorable Brian M. Cogan
United States District Judge
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201
Re:    Force, et al. v. Qatar Charity, et al., No. 1:20-cv-2578—Defendant Qatar Charity’s
       Supplemental Letter in Further Support of its Motion to Dismiss the Complaint
Dear Judge Cogan:
      On behalf of Defendant Qatar Charity, we respectfully write to respond to Plaintiffs’
March 27 letter (ECF No. 84) (“Pl. Ltr.”), as per this Court’s March 30 Order (ECF No. 86).
        Most of Plaintiffs’ letter is devoted not to advising Your Honor of supplemental
authority, but to distinguishing the March 17 decision of the Honorable Nicholas Garaufis of the
Eastern District of New York, which ordered dismissal of the Complaint in Przewozman, et al. v.
Qatar Charity, et al. (“Przewozman Op.”). And for good reason—Judge Garaufis dismissed the
Complaint as to Qatar Charity on the grounds that the plaintiffs “failed to establish a prima facie
case for personal jurisdiction over . . . Qatar Charity.” (Przewozman Op. at 27). Despite
Plaintiffs’ attempts to distinguish the instant matter from Przewozman, that decision provides
particularly helpful guidance for this Court as it considers remarkably similar allegations of a
purported conspiracy to finance terrorist organizations against the same three Defendants. Here,
allegations of New York-directed activity bearing any connection to Plaintiffs’ claims are wholly
nonexistent—even less than those presented by Plaintiffs’ counsel in the more-detailed
Przewozman complaint. The Complaint should be dismissed in its entirety.
        Judge Garaufis’s analysis of Section 302(a)(1) of the New York long-arm statute is
instructive. The second prong of this analysis “requires that the claims at issue ‘arise from the
transactions.’” (Przewozman Op. at 26). Plaintiffs’ claims bear no relation to the Defendants’
alleged contacts with the forum, not least because of the temporal gap between them. (See
Przewozman Op. at 27 (finding that the “temporal gap leaves the nexus between the Defendants’
New York-related acts and Plaintiffs’ injuries far too attenuated”); Qatar Charity’s Memorandum
of Law in Support of its Motion to Dismiss (ECF No. 58) (“MTD Mem.”) at 15-16). This
absence of a “causal link” is similarly fatal under the due process prong of Rule 4(k)(2). (MTD
Mem. at 18 n.10).
        Furthermore, the Przewozman analysis of the “purposeful availment” prong of Section
302(a)(1) rejects any argument that the use of a correspondent bank account in the forum could
be sufficient grounds for jurisdiction over a bank customer. (Przewozman Op. at 24 (“it is
Case 1:20-cv-02578-BMC Document 86 Filed 03/31/23 Page 2 of 2 PageID #: 2064


                                                    The Honorable Brian M. Cogan, District Judge
                                                                               March 31, 2023
                                                                                      Page Two


unclear how it would be sufficient to allege [that] Qatar Charity requested currency exchange
transactions that, without their knowledge, were effected in a New York-based account”); see
also Berdeaux v. OneCoin Ltd., 561 F. Supp. 3d 379, 403 n.25 (S.D.N.Y. 2021)). This is
consistent with similar holdings by Judge Caproni in Berdeaux and by numerous other judges
who ruled in the other cases previously cited to Your Honor.
        Plaintiffs themselves acknowledge that New York law requires an account be “used
‘repeated[ly],’ ‘deliberately,’ and not ‘once or twice by mistake.’” (Pl. Ltr. at 4 (quoting Licci v.
Lebanese Canadian Bank, 20 N.Y.3d 327, 340 (2012))). The Complaint’s allegations on this
score are nonexistent—Plaintiffs fail to allege any specific transfer directed at New York that
purportedly resulted in the Plaintiffs’ injuries. There are no allegations sufficient to plead
“purposeful availment” by Qatar Charity (or even knowledge of the existence of a correspondent
account). Without any factual basis for doing so, Plaintiffs seek to subject these foreign
defendants to suit with a Complaint that cannot withstand minimal scrutiny. They attempt to
remedy this glaring defect by asking the Court to take judicial notice of other allegations
Plaintiffs’ counsel later pled in the subsequently-filed Henkin complaint. (Pl. Ltr. at 3 n.1).
Aside from how remarkably improper such an exercise would be—incorporating allegations
from another litigation for the purpose of resolving the facial defects of the instant pleading—it
is unclear how the same transfers alleged elsewhere to have financed different terrorist attacks
and to have caused injuries to different plaintiffs could suffice to supplement the allegations of
overt acts here, in furtherance of an entirely separate conspiracy. Even were the Court to credit
the Henkin Complaint’s allegations it should yield the same result. The paragraphs cited by
Plaintiffs from the Henkin complaint (Pl. Ltr. at 3 n.1) appear verbatim in Przewozman
(Complaint at ¶¶ 132(c), 140-45); the adequacy of those allegations was summarily rejected in
all respects by Judge Garaufis.
        Plaintiffs’ letter further argues that the Second Circuit’s decision in Freeman v. HSBC
Holdings PLC eliminates the requirement that, in order to adequately plead conspiracy under
JASTA, a plaintiff must allege “that each Defendant directly conspired with the terrorist
organization responsible for, or even with the individual terrorists who carried out, the attacks on
Plaintiffs and their family members.” (Pl. Ltr. at 1). It is true that—in dicta—two members of
the Freeman panel arguably said as much. Freeman v. HSBC Holdings PLC, 57 F.4th 66, 75 (2d
Cir. 2023). But the court affirmed dismissal, holding that the plaintiffs failed to “adequately
allege[] that the [defendants] conspired – either directly or indirectly – with the terrorist groups
that caused the attacks, or that the terrorist attacks . . . were in furtherance of the [defendants’]
alleged conspiracy.” 57 F.4th at 75. The Court should grant Qatar Charity’s motion in its
entirety with prejudice.
                                                                 Respectfully submitted,
                                                                 /s/ John M. Hillebrecht
                                                                 John M. Hillebrecht
                                                                 Counsel for Qatar Charity
cc:    All counsel of record (by ECF)
